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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re

AMERICAN HOME MORTGAGE                           Chapter 11
HOLDINGS, INC., et al.,                          Case No. 07-11047-CSS, et seq.

                       Debtors.


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 23, 2008, copies of the foregoing Motion for Relief

from Automatic Stay Under § 362 of the Bankruptcy Code, notice, and proposed order were

served via first-class mail, postage prepaid, upon the parties listed on the attached matrix.



Dated: April 23, 2008                          /s/ Adam Hiller
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